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                                            United States District Court
                                             Western District of Texas
                                                      Austin
                                                Deficiency Notice


To:             Prichard, David McDonald
From:           Court Operations Department, Western District of Texas
Date:           Tuesday, February 21, 2023
Re:             01:22-CV-01251-LY / Doc # 11 / Filed On: 02/17/2023 04:09 PM CST

Pursuant to the Administrative Policies and Procedures for Electronic Filing in
Civil and Criminal Cases, the following pleading has been filed. However, it is
deficient in the area(s) checked below. Please correct the deficiency(ies), as
noted below, and re-file document IMMEDIATELY. When re-filing document,
other than a motion, please ensure you add ‘corrected’ to the docket text. If
the document you are re-filing is a motion, select ‘corrected’ from the drop-
down list.

If an erroneous filing results in failure to meet a deadline, you will need
to seek relief, for any default, from the presiding judge.
(1) Other
   Remarks: Your Certificate of Service indicates service via CM/ECF. Attorney Jerry Evans is not registered to
receive electronic service/notification in this case. Please file an Amended Certificate of Service in full pleading format
stating the alternate means of service employed and link it to the original document.
